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                                  UNITED STATES DISTRICT COURT
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                                EASTERN DISTRICT OF CALIFORNIA
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11    MICHAEL N. ANHAR,                                  Case No. 1:19-cv-00496-LJO-EPG
12                       Plaintiff,                      ORDER DENYING PLAINTIFF’S MOTION
13                                                       TO SCREEN COMPLAINT
              v.
14                                                       (ECF No. 9)
      CITIBANK, N.A.,
15    subsidiary of bank holding company
      Citigroup Inc.,
16
                         Defendant.
17

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19          Plaintiff, Michael N. Anhar, is proceeding pro se and in forma pauperis, in this action

20   alleging claims against Defendant, Citibank, N.A., for breach of contract, violations of the Truth

21   in Lending Act, and violations of the Fair Credit Billing Act. (ECF No. 1.) Plaintiff filed the

22   complaint commencing this action on April 17, 2019. (Id.) On June 17, 2019, Plaintiff filed a

23   motion requesting that the Court screen the complaint and authorize service upon Defendant.

24   (ECF No. 9.)

25          The Court understands that Plaintiff would like to proceed with the prosecution of his case

26   as quickly as possible. However, the Eastern District of California is one of the busiest courts in

27   the nation, and the judges in this district carry some of the heaviest caseloads in the nation.

28   Complaints filed by plaintiffs proceeding in forma pauperis are screened as soon as is practicable


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 1   in light of this Court’s heavy caseload.

 2          The complaint has now been screened in due course. (ECF No. 11.) Accordingly, IT IS

 3   ORDERD that Plaintiff’s motion for screening (ECF No. 9) is DENIED as moot.

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     IT IS SO ORDERED.
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 6      Dated:     October 3, 2019                         /s/
 7                                                  UNITED STATES MAGISTRATE JUDGE

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